Case 5:20-cv-00214-GKS-PRL Document 17 Filed 10/19/20 Page 1 of 2 PageID 61




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

RAY W. JACKSON,

       Plaintiff,

v.                                                              Case No: 5:20-cv-214-Oc-18PRL

COMMISSIONER OF SOCIAL
SECURITY,

       Defendant.




                                             ORDER
       This case is before the Court on the Commissioner’s second motion to stay the case for 90

days, or until the Social Security Agency (“SSA”) regains the capacity to produce the certified

transcript of the record necessary for this case. (Doc. 15). Due to the global COVID-19 crisis, the

SSA has transitioned to a maximum telework environment which prevented it from adhering to its

business process for preparing the transcript of the record in many cases. Additionally, the

complaints filed in SSA cases have increased, which has resulted in a backlog of work, making it

difficult for the agency to process the transcripts in a timely manner.

       Plaintiff has filed a response to the motion setting forth objections including that the

Commissioner has already been granted a stay of 90 days in this case and that the repeated requests

for stays amount to Plaintiff’s case being put on indefinite hold. (Doc. 16). Plaintiff’s points are

well taken. Plaintiff notes that he is agreeable to a 30-day extension for the Commissioner to file

an answer and transcript.
Case 5:20-cv-00214-GKS-PRL Document 17 Filed 10/19/20 Page 2 of 2 PageID 62




       Accordingly, and considering the overall circumstances, the Commissioner’s opposed

motion to stay (Doc. 15) is GRANTED in part. The Commissioner shall file an answer and the

transcript of the record for this case within 60 days.

       DONE and ORDERED in Ocala, Florida on October 19, 2020.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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